Case:20-16813-JGR Doc#:188 Filed:05/20/21 Entered:05/20/21 14:13:32 Page1 of 14

 

 

 

 

 

 

Fillin this information to identify the case:
Debtor Name Chee Wei Fong
United States Bankruptcy Court for the: District of Colorado

: CI Check if this Is an
Cuse number: 20-16813JGR-CH11 amended fling
Official Form 425C
Monthly Operating Report for Small Business Under Chapter 11 12/17
Month: Apr 2021 Date report filed: 05/20/2021

MM/DD/YYYY

Line of business: NAISC code:

in accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: CHEE WELFONG
Orginal signature of responsible party = _- ; fell n-

Printed name of responsible party CHEE wu Fong

mt 1. Questionnaire

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

 

 

if you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

1. Did the business oparate during the entire reporting period?
2. Do you plan to continue to operate the business next month?

3. Have you paid all of your bills on time?

>

“Did you pay your employees on time?
Have you deposited ail the receipts for your business into debtor in possession (DIP) accounts?
Have you timely filed your tax retums and paid all of your taxes?

Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?

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6
7. Have you timely filed afl other required government filings?
8.
9.

Have you timely paid all of your insurance premiums?

if you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B,

10. Do you have any bank accounts open other than the DIP accounts?

11. Have you sold any assets other than inventory?

12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?
13. Did any insurance company cancel your policy?

14. Did you have any unusual or significant unanticipated expenses?

15. Have you borrowed money from anyone or has anyone made any payments on your behalf?

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16. Has anyone made an investment in your business?

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 1

2:
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Debtor Name Chee Wei Fong Case number 20-1 681 3JGR-CH1 1

 

17. Have you paid any bills you owed before you filed bankrupicy? QO)

&l &
Oo

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? Q)

 

| 2B Summary of Cash Activity for All Accounts

 

19. Total opening balance of all accounts 39 272.08
This amount must equal what you reported as the cash on hand at the end of the month in the previous sees

month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $_11,129.69

21. Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the

date paid, payee, purpose, and amount. Include all cash payments, debit card

transactions, checks issued even if they have not cleared the bank, outstanding

checks issued before the bankruptcy was filed that were allowed to clear this month,

and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. 5,871.66

“$
Report the total from Exhibit D here.

22. Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

+ $__ 5,258.03

23. Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

 

| | 3. Unpaid Bills

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

24. Total payables $_ 41,460.09
(Exhibit E)

* $41,460.09 in fees to Debtor's counsel, fee application pending.

 

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DebtorName Chee Wei Fong Case number 20-16813JGR-CH11

 

S| 4, Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

 

 

 

 

 

 

    
 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

Exhibit F here.
25. Total receivables $ 0.00
(Exhibit F)
| = Employees
26. What was the number of employees when the case was filed?
27. What is the number of employees as of the date of this monthly report?
= 6. Professional Fees
8. How much have you paid this month in professional fees related to this bankruptcy case? $ __ 9.00 é
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ _ 38,974.19
30. How much have you paid this month in other professional fees? $ ___0.00
31. How much have you paid in total other professional fees since filing the case? $ 3,000.00
F | 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column C
Difference
‘Subtract Golurhn B
af e one ftom Column: A. :
32. Cash recelpts g 6,881. 00 — gs 11,129.69 “ ¢ 4,248.69
aa) cashidisuumemenm 5 5,824.00 — § 5,871.66 = ¢ -47.66
34. Net cash flow ¢$ 1,057.00 — ¢ 5,258.03 g__-4,201.03
35. Total projected cash receipts for the next month: $__6,881.00
36. Total projected cash disbursements for the next month: =¢ 9,824.00
37. Total projected net cash flow for the next month: =5 4,057.00
* Paid from retainer, retainer balance $823.43.
Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 3
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Debtor Name Chee Wei Fong Case number 20-16813JGR-CH11

ie :. Additional Information

 

if available, check the box to the left and attach copies of the following documents.

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39.

40.

42.

QO
QO
O 41.
Q)

Bank statements for each open account (redact all but the last 4 digits of account numbers).
Bank reconciliation reports for each account.

Financial reports such as an income statement (profit & loss) and/or balance sheet.

Budget, projection, or forecast reports,

Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
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Wells Fargo’ Preferred Checking

April 30, 2021 m= Page 1 of 5

CHEE WE! FONG

DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)
3751 W 136TH AVE UNIT S2
BROOMFIELD CO 80023-8149

 

  

Questions?

Available by phone 24 hours a day, 7 days a week:
We accept all relay calls, including 711

1-800-TO-WELLS (1-800-869-3557)
En espafiol: 1-877-727-2932

Online: weltsfargo.com

Write: Wells Fargo Bank, N.A. (183)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our
company and took forward to continuing to serve you with your financial needs.

Account options

A check mark in the box indicates you have these
convenient services with your account(s). Go fo
wellsfargo.com or call the number above if you have
questions or if you would like to add new services.

Direct Deposit
Auto Transfer/Payment LE]
Overdraft Protection [|
Debit Card

Overdraft Service

Online Banking
Online Bill Pay
Online Statements
Mobile Banking

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My Spending Report

IMPORTANT ACCOUNT INFORMATION

The following dedicated text telephone/telecommunication device for the deaf (TTY/TDD) lines are being retired on March 5, 2021:
800-877-4833, 800-419-2265 and 800-600-4833. We accept relay-assisted calls, including calls from the 711 service, when customers call
any Wells Fargo customer service toll-free phone number. Wells Fargo will continue to provide excellent service to our deaf or hard of

hearing customers and customers with speech disorders.

 

Statement period activity summary

 

Beginning balance on 4/1 $30,523.81
Deposits/Additions 11,129.69
Withdrawals/Subtractions - 5,871.66
Ending balance on 4/30 $35,781.84

(163)

Account number: S748

CHEE WEI FONG
DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)

Colorado account terms and conditions apply

For Direct Deposit use
Routing Number (RTN): 102000076
Case:20-16813-JGR Doc#:188 Filed:05/20/21 Entered:05/20/21 14:13:32 Page9 of 14

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Overdraft Protection

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements

please call the number listed on your statement or visit your Wells Fargo branch.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Interest summary
Interest paid this statement $0.26
Average collected balance $31,295.13
Annual percentage yield earned 0.01%
Interest earned this statement period $0.26
Interest paid this year $0.92
Transaction history
Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
4fi Purchase authorized on 03/30 Firehouse Subs 128 Loveland CO 11.73
$581089705049344 Card 3990
4 Broadlands Maste Hoa Dues 210326 xxxxx2560 Chee Wei Fong 67.50
4h 106 Check 1,500.00 28,944.58
4/2 Collabera Inc Direct Dep 210402 765079134704Xel Fong,Chee 3,415.21
Wei
4/2 Mobile Deposit : Ref Number :108020744085 103.42
4/2 Purchase authorized on 04/02 WM Superc Wal-Mart Sup 42.79
Loveland CO P00000000336067919 Card 3990
4/2 ADT Security Ser Adtpapach xxxxx0151 Fong, Chee Wei 63.04 32,357.38
4/5 Purchase Return authorized on 04/02 Batteries+Bulbs #0 16.01
Loveland CO $61 1094541378276 Card 3990
4/5 Purchase authorized on 04/01 Pho Lan Loveland CO 23.01
$301091660220839 Card 3990
4/5 Purchase authorized on 04/02 Tst* The Great Gre Westminster 22.12
CO $581093008522487 Card 3990
4/5 Bill Pay Quicken Loans Recurring xxxxx37134 on 04-05 1,786.45
4/5 Purchase authorized on 04/03 Chick-Fil-A #03634 Westminster 15.18
CO $461094057912426 Card 3990
4/5 Recurring Payment authorized on 04/04 Keepersecurity.Com 73.48 30,453.15
Httpskeeperse IL $381094524685040 Card 3990
4/6 Purchase authorized on 04/04 Tst* McGraff S Loveland CO 26.98 30,426.17
$461094850226511 Card 3990
4/7 Purchase authorized on 04/05 Raising Cane's 049 Longmont CO 13.31
$381095631684579 Card 3990
4i7 Bill Pay Premier Members Credit Union Recurring 750.00
XXXXXXXXXXGEIS3 On 04-07
4l7 Purchase authorized on 04/07 Wal-Mart #0953 Loveland CO 56.39
P00000000875867755 Card 3990
4/7 American Family Aft 210406 BO00000210961Djs Chee W Fong 128.26
4I7 Lake Front Hoa Dues 210405 xxxxx0320 Chee Wei Fong 295.00 29,183.21
4l8 Purchase authorized on 04/06 Tst* The Great Gre Westminster 22.12
CO $381096862932771 Card 3990
4/8 Purchase authorized on 04/08 King Soopers #07 2395 W. 34.77
Broomfield CO P00461098470214830 Card 3990
4/8 Purchase authorized on 04/08 King Soop 2355 W. 136T 28.26
Broomfield CO PO0000000984953641 Card 3990
4/8 Purchase authorized on 04/08 King Soopers #01 2355 W. 2.49 29,095.57
Broomfield CO P00581098487448042 Card 3990
4/12 Purchase authorized on 04/10 Chick-Fil-A #03634 Westminster 15.18

CO $581101065866017 Card 3990
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April 30, 2021 m= Page 30f5

  

 

Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
412 Purchase authorized on 04/11 Cracker Barrel #5800 McW 26.12 29,054.27
Loveland CO P00301 102041326496 Card 3990
4/13 Front Range Gun Payroll 210413 P4903453 Chee Wei Fong 381.28 29,435.55
4/14 Purchase authorized on 04/12 Raising Cane's #35 Broomfield CO 13.27
$381 102793826330 Card 3990
4/14 Purchase authorized on 04/14 Sams Club Sam's Club Loveland 21.40
CO P00000000939862201 Card 3990
4114 Purchase authorized on 04/14 King Soop 253 E. 29th Loveland 39.05 29,361.83
CO P00000000072639037 Card 3990
415 Purchase authorized on 04/13 Colorado Gum Care Northglenn 51.50
CO $461103601111073 Card 3990
415 Purchase authorized on 04/13 Tst* The Great Gre Westminster 22.12 29,288.21
CO $301104014612487 Card 3990
4/16 Collabera Inc Direct Dep 210416 797079536799Xel Fong,Chee 3,415.21 32,703.42
Wei
4/19 Purchase authorized on 04/17 Cracker Barrel # 5800 McwW 23.47
Loveland CO P00461 107500100737 Card 3990
419 Purchase authorized on 04/17 Chick-Fil-A #03634 Westminster 15.18
CO $581108058062058 Card 3990
4/19 Purchase authorized on 04/18 Wal-Mart #0953 Loveland CO 25.93
P00000000983543004 Card 3990
4/19 Purchase authorized on 04/19 Circle K #41129 885 W Broomfield 32.02
CO P00000000384 184549 Card 3990
4/19 Xcel Energy-PSCO Xcelenergy 00087262622 Well Fargo Personal 84.26
4/19 Comcast 8497101 xxxxx4202 210418 7768740 Chee Wei *Fong 92.02 32,430.54
4/20 Purchase authorized on 04/16 Amzn Mktp US*Pk7Cb 29,54 32,401.00
Amzn.Com/Bill WA $301106621760929 Card 3990
4/21 Purchase authorized on 04/19 Chick-Fil-A #03634 Westminster 15.46
CO $301109790099467 Card 3990
4/21 Purchase authorized on 04/21 The Home Depot #1529 Loveland 10.64
CO P00301111738169619 Card 3990
4/21 ATT Payment 042021 636343013Epayr Chee Wei Fong 62.63 32,312.27
4/22 Purchase authorized on 04/20 Five Guys CO 1591 Broomfield CO 20.66 32,291.61
$381110818929494 Card 3990
4/23 Deposit Made In A Branch/Store 1.82
4/23 Purchase authorized on 04/22 Swedish Medical Ce 8664751385 35.00
TN $461112462438510 Card 3990
4/23 Purchase authorized on 04/22 Benedicts Restaura 720-5299797 42.86
CO $301112526483113 Card 3990
4/23 Recurring Payment authorized on 04/22 U.S. Lawshield 13.90
WWW .Uslawshie TX S461112548972559 Card 3990
4/23 Purchase authorized on 04/23 King Soop 253 E. 29th Loveland 17.31 32,184.36
CO P00000000573656987 Card 3990
4/26 Purchase authorized on 04/24 Petrojohnson CO Johnstown CO 35.67
P00000000077304719 Card 3990
4/26 Purchase authorized on 04/24 Chick-Fil-A #03634 Westminster 6.14
CO $581115066627992 Card 3990
4/26 Purchase authorized on 04/25 Cracker Barre! # 5800 McW 25.88 32,116.67
Loveland CO P00581116073975562 Card 3990
4/27 Front Range Gun Payroll 210427 P5028630 Chee Wei Fong 381.27
4/27 Purchase authorized on 04/27 Sams Club Sam's Club Loveland 78.35 32,419.59
CO P00000000187465566 Card 3990
4/30 Collabera Inc Direct Dep 210430 758056610918Xel Fong,Chee 3,415.21
Wei
4/30 Purchase authorized on 04/30 Kum&Go 0995 Loveland Loveland 27.61

CO P00461 120580950987 Card 3990
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Transaction history (continued)

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
4/30 Purchase authorized on 04/30 Wal-Mart Super Center Loveland 25.61
CO P00G000000036832634 Card 3990
4/30 interest Payment 0.26 35,781.84
Ending balance on 4/30 35,781.84
Totals $11,129.68 $5,871.66

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.

Summary of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date Amount
106 4/1 1,500.00

 

Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these documents, and answers to common monthly service fee questions.

 

Fee period 04/01/2021 - 04/30/2021 Standard monthly service fee $15.00 You paid $0.00
How to avoid the monthly service fee Minimum required This fee period
Have any ONE of the following account requirements
* Total amount of qualifying direct deposits $1,000.00 $11,008.18 [J
* Alinked Wells Fargo home mortgage 1 oO
* Combined balance in linked accounts, which may include $10,000.00 $28,944.58 [¥]

- Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
FDIC-insured Retirement accounts
JDAD

IMPORTANT ACCOUNT INFORMATION

Can we reach you when it's really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:

- Signing on te wellsfargo.com or the Wells Fargo Mobile® app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement

- Visiting a branch
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Worksheet to balance your account General statement policies for Wells Fargo Bank
Follow the steps below to reconcile your statement balance with your gw To dispute or report inaccuracies in information we have furnished to a
account register balance. Be sure that your register shows any interest Consumer Reporting Agency about your accounts. You have the right to
paid into your account and any service charges, automatic payments or dispute the accuracy of information that Wells Fargo Bank, N.A. has
ATM transactions withdrawn from your account during this statement furnished to a consumer reporting agency by writing to us at Overdraft
period. Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
[a] Enter the ending balance on this statement. $ | describe the specific information that is inaccurate or in dispute and the

basis for the dispute along with supporting documentation. If you believe
List outstanding deposits and ether the information furnished is the result of identity theft, please provide us
credits to your account that do not appear on with an identity theft report.

this statement. Enter the total in the column m_ Incase of errors or questions about your electronic transfers,

to the right. telephone us at the number printed on the front of this statement or write

us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear

from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

Description Amount

1. Tell us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tell us the dollar amount of the suspected error.

 

Total |$ |

[¢] Ada[A] and [B] to calculate the subtotal. =$ J

We will investigate your complaint and will correct any error prompily. If
[D] List outstanding checks, withdrawals, and we take more than 10 business days to do this, we will credit your account
other debits to your account that do not appear for the amount you think is in error, so that you will have the use of the
on this statement. Enter the total in the column money during the time it takes us to complete our investigation.
to the right.

Number/Description Amount

 

Total | $

[E] Subtract [D] from [C] to calculate the
adjusted ending balance. This amount should be

the same as the current balance shown in your
register. = $ | ©2010 Wells Fargo Bank, N.A. All rights reserved NMLSR_D 399801 Member FDIC. fenoer

 
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MEMBERS
CREDIT YUNITON
360 Interlocken Bivd Ste 200
Broomfield, CO 80021
ween 303.657.7000 | PMCUL.ORG

CHEE WEI FONG

UNIT S2

3751 W 136TH AVE £-278-11.38
BROOMFIELD CO 80023-8149

 

  
  

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ACCOUNT INFORMATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCOUNT NO. XXXXXXGSSS SAVINGS 5.01 HOME LOANS 98072 .89
STATEMENT DATE 04/30/21 CHECKING AUTO LOANS
PAGE 1 of 2 CERTIFICATES IRAS

 

 

 

 

 

 

 

 

 

 

 

 

 

04/01 Balance Forward 5,01

04/30 Ending Balance §.01
Dividends Paid Year to Date 0,00

JO: HELOC (5/14) ID.0060

   
   

Credit Limit: 0.00
Available Credit: 0.00
*** ANNUAL PERCENTAGE RATE 3.750% *** (Variable Rate)

04/01 Balance Forward 98508 . 71
04/08 Payments ACH PREMIER MEMBERS -750.00 -435 .82 98072 .89
See Interest Charged Below
CO: PREMIER NEMBERS
04/30 Ending Balance 98072 .89
Loan Information
Current Payment: 302.60
Amount Past Due: 0.00
Total Due: 302.60
Due Date: 05/25/21
2020 Interest Paid 2682.32

 
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> PREMIER Member Statement  Page.2 of 2
MEMBERS Account Number: XXXXKXGIHSS

ee Ee Statement Period: 04/01/21 - 04/30/21

 

    

04/08 Interest Charge 314.18
TOTAL INTEREST FOR THIS PERIOD 314.18

Total fees charged in 2021 0.00
Total interest charged in 2021 1234.19

 

 

 

LAST YEAR AND YEAR TO DATE DIVIDEND AND INTEREST CHARGES
Dividends Paid Year to Date 0,00
Interest Paid Year to. Date 1234.19

 

* The balance used to compute interest is the unpaid balance each day after payments and credits to that balance have
been subtracted and any additions to the balance have been made.

82-2
L-279-1136
